Case 1:24-cv-08683-FB-TAM     Document 33    Filed 02/28/25   Page 1 of 9 PageID #: 217




  UNITED STATES DISTRICT COURT
  EASTERN DISTRICT OF NEW YORK

   TEAMSTERS LOCAL UNION NO.
   804 and TEAMSTERS AMAZON
   NATIONAL NEGOTIATING
   COMMITTEE,
                                              MEMORANDUM AND ORDER
                     Plaintiffs,              Case No. 24-CV-8683

         -against-

   THE CITY OF NEW YORK; NEW
   YORK CITY POLICE
   COMMISIONER JESSICA TISCH, in
   her official capacity; NEW YORK
   CITY MAYOR ERIC ADAMS, in his
   official capacity;

                     Defendants.

   For Plaintiff:                           For Proposed Intervenor:
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Case 1:24-cv-08683-FB-TAM      Document 33       Filed 02/28/25   Page 2 of 9 PageID #: 218




  BLOCK, Senior District Judge:

        On December 19, 2024, Plaintiffs Teamsters Local Union No. 804 and

  Teamsters Amazon National Negotiating Committee (“TANNC”) (together,

  “Plaintiffs”) commenced this action against the City of New York, Police

  Commissioner Jessica Tisch, and Mayor Eric Adams (collectively, the “City

  Defendants”) to restrain certain New York City Police Department (“NYPD”)

  conduct in relation to Plaintiffs’ strike and picketing of a warehouse operated by

  proposed intervenor Amazon.com, Inc. (“Proposed Intervenor” or “Amazon”). In

  particular, Plaintiffs seek an order enjoining the NYPD from (1) using barricades to

  prevent picketers from patrolling the public sidewalk outside the Amazon

  warehouse, (2) arresting picketers for participating in the picket, and (3) arresting

  picketers for patrolling the picketed warehouse’s driveway.

        On February 6, 2025, Amazon moved to intervene pursuant to Federal Rule

  of Civil Procedure 24. Plaintiffs oppose the motion; the City Defendants do not.

  For the following reasons, Amazon’s motion to intervene as of right is GRANTED.

                                     I.    Background

        Plaintiff TANCC is a committee of local affiliates of the International

  Brotherhood of Teamsters (“IBT”), including Plaintiff Teamsters Local Union No.

  804, which is empowered by the IBT to negotiate with Amazon on their behalf.

  Plaintiffs and their predecessors have been attempting for several years to negotiate

                                             2
Case 1:24-cv-08683-FB-TAM          Document 33       Filed 02/28/25     Page 3 of 9 PageID #: 219




  a collective bargaining agreement with Amazon following an April 2022 union

  election run by the National Labor Relations Board (“NLRB”). On December 19,

  2024, in protest of Amazon’s refusal to bargain and unfair labor practices, Plaintiffs

  began a strike and picket of eight Amazon facilities across the country, including at

  several Amazon locations in New York City.

         Later that day, Plaintiffs commenced this action after the NYPD arrived at

  Amazon’s DBK4 warehouse (“DBK4”)1 and erected police barricades that blocked

  access to the public sidewalk, arrested a picketer forced into the street by the

  barricades, and arrested a delivery driver who attempted to talk to the picketers. 2

  Plaintiffs argue these actions violated the First Amendment and National Labor

  Relations Act (“NLRA”), 29 U.S.C. § 151 et seq., by impinging the picketers’

  rights to free speech and to participate in “concerted activities for the purpose of

  collective bargaining or other mutual aid or protection,” 29 U.S.C. § 157. On

  December 30, 2024, Plaintiffs withdrew their pending request for a temporary

  restraining order following the conclusion of the then-ongoing strike at DBK4, but

  continue to seek a preliminary injunction in view of imminent future strike and

  picketing activity at DBK4 and other New York City Amazon facilities.


  1
    DBK4 is a five-story building, which Amazon uses as a round-the-clock shipping and
  distribution center. See Dawson Decl. ¶¶ 6–10, ECF No. 30-5. It has four access points, all of
  which are on the same street: a two-lane driveway; a one-way exit driveway; a pedestrian
  entrance/exit; and a loading dock. Id. at ¶ 10.
  2
    There has been no formal adjudication of these purported events. They will be assumed to be
  true for purposes of this decision.
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Case 1:24-cv-08683-FB-TAM          Document 33        Filed 02/28/25     Page 4 of 9 PageID #: 220




         Amazon seeks to intervene in this action because, it argues, it has an interest

  in the uninterrupted operation of its business that it fears the City Defendants may

  not adequately protect.3

                                          II.     Discussion

         Rule 24(a) of the Federal Rules of Civil Procedure provides in pertinent part

  that “[o]n timely motion, the court must permit anyone to intervene who . . . claims

  an interest relating to the property or transaction that is the subject of the action,

  and is so situated that disposing of the action may as a practical matter impair or

  impede the movant’s ability to protect its interest, unless existing parties

  adequately represent that interest.” Fed. R. Civ. P. 24(a)(2). The Second Circuit has

  established a four-factor test to determine whether a non-party seeking to intervene

  as of right has satisfied these requirements: a proposed intervenor must “(1) timely

  file an application, (2) show an interest in the action, (3) demonstrate that the

  interest may be impaired by the disposition of the action, and (4) show that the

  interest is not protected adequately by the parties to the action.” In re N.Y.C.

  Policing During Summer 2020 Demonstrations, 27 F.4th 792, 799 (2d Cir. 2022)

  (cleaned up).




  3
    The Court acknowledges the Plaintiffs’ have requested to file a sur-reply to address whether the
  City Defendants may adequately protect this interest, see ECF No. 31, but the Court sees no
  reason to further burden the record.
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Case 1:24-cv-08683-FB-TAM       Document 33       Filed 02/28/25   Page 5 of 9 PageID #: 221




        First, Amazon timely filed its motion. Amazon notified the Court of its

  desire to intervene on December 23, 2024, see ECF No. 18, four days after

  Plaintiffs commenced this action. Amazon’s intervention will not prejudice the

  existing parties by delaying existing scheduling orders. See United States v. Pitney

  Bowes, Inc., 25 F.3d 66, 70 (2d Cir. 1994) (explaining that determination of

  timeliness is “within the sound discretion of the trial court from all the

  circumstances,” which may include how long applicant had notice before

  intervention motion and potential “prejudice to existing parties resulting from any

  delay”).

        The core of the parties’ disagreement relates to the second factor: the nature

  of Amazon’s interest in the action. Plaintiffs characterize Amazon’s asserted stake

  in the action as an “interest in affirmatively forcing the police to enforce the law.”

  ECF No. 30-6 at 6. Having so characterized the interest, Plaintiffs argue there is no

  legally protectable interest in police enforcement to ground Amazon’s motion. See

  id. at 7–8 (citing Castle Rock v. Gonzales, 545 U.S. 748 (2005)).

        Amazon disputes this characterization, arguing it is not asserting an interest

  in police enforcement or entitlement to enhanced police protection, nor asserting

  claims against the City Defendants. Rather, Amazon contends that its interest lies

  in safeguarding its “legal right to operate its business . . . without disruption,

  unlawful blockade, or trespass.” ECF No. 30-1 at 8. It argues that the underlying

                                              5
Case 1:24-cv-08683-FB-TAM       Document 33       Filed 02/28/25   Page 6 of 9 PageID #: 222




  picketing has targeted its facilities, and that the underlying intent of Plaintiffs’

  action is not directed to law enforcement but to protest of Amazon’s business

  operations, which could be affected by the outcome of this case. Id.

        The Second Circuit has explained that “[f]or an interest to be ‘cognizable’

  under Rule 24, it must be ‘direct, substantial, and legally protectable.’” Floyd v.

  City of N.Y., 770 F.3d 1051, 1060 (2d Cir. 2014) (quoting Bridgeport Guardians,

  Inc. v. Delmonte, 602 F.3d 469, 473 (2d Cir. 2010)). The Circuit has further

  “cautioned against requiring that a proposed intervenor identify a narrow interest

  amounting to a legal entitlement.” In re N.Y.C. Policing, 27 F.4th at 801 (citing

  Brennan v. N.Y.C. Bd. of Educ., 260 F.3d 123, 128 (2d Cir. 2001)). In particular,

  “Rule 24(a)(2) requires not a property interest but, rather, ‘an interest relating to

  the property or transaction which is the subject of the action.’” Brennan, 260 F.3d

  at 130 (quoting Fed. R. Civ. P. 24(a)) (emphasis added).

        Here, in the context of Plaintiffs’ strike and picket against Amazon, there is a

  reasonably direct probability that a grant of the injunction sought by Plaintiffs

  would implicate Amazon’s related interest. It is axiomatic that a union’s strike and

  picket is intended to apply economic pressure on an employer. See, e.g., Julius G.

  Getman, Protection of Economic Pressure by Section 7 of the National Labor

  Relations Act, 115 U. Pa. L. Rev. 1195, 1195 (1967) (“One of the central purposes

  of the [NLRA] was to counterbalance the power of employers by facilitating the

                                              6
Case 1:24-cv-08683-FB-TAM        Document 33        Filed 02/28/25    Page 7 of 9 PageID #: 223




  use of strikes and other forms of economic pressure by employees.”). The NLRA

  enshrines the right of employees and unions, such as Plaintiffs, to engage in

  “concerted activities” such as strikes and pickets against an employer, such as

  Amazon. 29 U.S.C. § 157. Such activity, which is at the core of this action,

  necessarily implicates Amazon’s property interest in its business at DBK4, namely

  its continued ease of access to its leased property, which it credibly asserts could be

  impeded depending on the disposition of this case. See Dawson Decl. at ¶ 13.

         Concerning the third factor, Rule 24 requires that the potential impairment to

  Amazon’s interest not be too contingent or remote. See Wash. Elec. Coop., Inc. v.

  Mass. Mun. Wholesale Elec. Co., 922 F.2d 92, 97 (2d Cir. 1990). Amazon asserts

  the risk of impairment is “neither contingent nor hypothetical as Plaintiffs have

  demonstrated a willingness to disrupt Amazon’s operations to force recognition to

  which they are not entitled.” ECF No. 30-1, at 8. Amazon may be incorrect about

  Plaintiffs’ entitlement to recognition,4 but it is correct that the potential impact on

  its business posed by an injunction in this action is sufficiently direct to support

  intervention.

         As to the last factor, Amazon argues that the existing City Defendants will

  not adequately protect this interest because the City Defendants’ focus centers on


  4
   As Amazon notes, Plaintiffs have explained that their strike of DBK4 and other Amazon
  facilities is premised on Amazon’s unlawful refusal to bargain with TANCC on behalf of
  organized employees in violation of the NLRA. See Smith Decl., Ex. A, ECF No. 30-3.
                                                7
Case 1:24-cv-08683-FB-TAM      Document 33       Filed 02/28/25   Page 8 of 9 PageID #: 224




  “public safety and a mandate to ensure that Plaintiffs’ constitutional and statutory

  rights to protest are safeguarded.” ECF No. 30-1 at 9. Plaintiffs do not address this

  distinction, but instead argue that Amazon’s interest, such as it is, could be

  addressed by permitting it to file an amicus brief. See ECF No. 30-6 at 12–13.

  Plaintiffs are correct that courts in the Second Circuit have at times permitted a

  movant to file an amicus brief while denying a request to intervene; however, these

  cases involve different circumstances in which the proposed intervenor’s interest

  was less directly implicated. See, e.g., S.E.C. v. Ripple Labs, Inc., No. 20-CV-

  10832, 2021 WL 4555352, at *2–3 (S.D.N.Y. Oct. 4, 2021) (denying intervention

  by individuals who held a digital asset implicated in a securities enforcement

  action).

        Here, the Court agrees that Amazon’s interest differs from the City

  Defendants’ broader interest in the NYPD’s actions. See Ass’n of Conn. Lobbyists

  LLC v. Garfield, 241 F.R.D. 100, 103 (D. Conn. 2007) (granting private party’s

  motion to intervene alongside government where “government may not emphasize

  or vigorously defend all aspects” of challenged action); see also N.Y. Pub. Int.

  Rsch. Grp., Inc. v. Regents of Univ. of N.Y., 516 F.2d 350, 352 (2d Cir.1975)

  (finding “lack of adequate representation” prong met where proposed intervenor

  would make “more vigorous presentation” than government defendant).




                                             8
Case 1:24-cv-08683-FB-TAM      Document 33      Filed 02/28/25   Page 9 of 9 PageID #: 225




        Accordingly, Amazon has satisfied the requirements of F.R.C.P. 24(a) for

  intervention as of right.

                                     III.   Conclusion

        Amazon’s motion to intervene is granted. Amazon is directed to comply with

  the existing scheduling order with respect to Plaintiffs’ motion for a preliminary

  injunction, which is to be fully briefed by April 25, 2025. See ECF No. 26.



  SO ORDERED.

                                                _/S/ Frederic Block__________
                                                FREDERIC BLOCK
                                                Senior United States District Judge
  Brooklyn, New York
  February 28, 2024




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